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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

BENJAMIN NEWSOME, Administrator of
the Estate of Joshua Johnson,

                      Plaintiff,
v.                                                          Civil Action No. 2:14cv94

MATTHEW WATSON,

And

MATHEW WILLIAMS,

                      Defendants.

                                   AMENDED COMPLAINT

       COMES NOW the Plaintiff (hereinafter “Plaintiff” or “Newsome”), by counsel, and

moves this court, by amended complaint pursuant to Rule 15(a)(1)(B), for judgment and an

award of execution against the Defendants, Matthew Watson and Mathew Williams (hereinafter

collectively “Defendants” or individually and respectively “Watson” and “Williams”), jointly

and severally in the sum of SEVEN MILLION DOLLARS ($7,000,000.00) by reason of the

following:

                                             Parties

       1.      The Defendants are, or were at all relevant times, employed as police officers of

the City of Norfolk, Virginia.

       2.      Newsome was qualified as Administrator of the Estate of Joshua A. Johnson on,

or about, June 10, 2013 in the Norfolk Circuit Court. The decedent, Joshua A. Johnson

(hereinafter “Johnson” or the “Decedent”), was the twenty-two year old son of Newsome. Both


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Newsome and Johnson were Norfolk, Virginia residents and citizens of the United States at all

relevant times.

                                 Count I- 42 U.S.C. §1983

       3.         The plaintiff incorporates herein the allegations of Paragraphs 1 and 2 above.

       4.         Johnson was killed by the excessive and unreasonable use of deadly force by the

Defendants on May 20, 2013 in, or around, the 2000 block of Colonial Avenue in the City of

Norfolk, Virginia. Johnson was in a drive-through lane of the bank, at approximately 2:40 p.m.

and the Defendants were arresting him for an alleged non-violent property crime. Defendants

barricaded the vehicle that Johnson was operating by pulling their police vehicle in front of

Johnson’s car so that reverse was his only means of egress. Williams violated safety rules of

police procedure by putting himself in harm’s way walking directly and closely behind a vehicle

knowing that its only means of egress was to back up. Watson violated safety rules of police

procedure, by among other things, firing his weapon with his own fellow officer directly in the

line of fire. Watson shot Williams in the same hail of bullets with which Watson killed Johnson.

       5.         The Defendants, jointly and severally, caused Johnson to be shot to death as part

of an unreasonable execution of an arrest or seizure of Johnson’s person within the meaning of

the United States Constitution and the Fourth Amendment thereto. This excessive and

unreasonable use of deadly force were the result of errors and recklessness on the part of the

police. The reckless actions of the Defendants in concert constituted an unreasonable and

unconstitutional seizure of the person of Johnson which directly and proximately caused the

wrongful death of Johnson.

                                        Count II- Battery

       6.         The plaintiff incorporates herein the allegations of Paragraphs 1 through 5 above.
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       7.      Defendant Watson, without just cause or provocation, committed a battery on

Johnson in violation of Virginia law, by harmful and offensive contact to the decedent

proximately resulting in the wrongful death of Johnson through shooting.



                                             Damages

       8.      The plaintiff incorporates herein the allegations of Paragraphs 1 through 7 above.

       9.      Johnson has statutory beneficiaries left behind including his parents and siblings

as follows:

                      Name                   Relationship           Date of Birth

                      Benjamin Newsome Father                       08/17/1959

                      Charlene Johnson       Mother                 07/23/1961

                      Charles Johnson        Brother                10/15/1979

                      Darrell Newsome        Brother                11/29/1980

                      Caprice Johnson        Sister                 05/10/1982

                      William Johnson        Brother                10/28/1983

                      Benjamin Johnson       Brother                01/22/1987

                      Marie Johnson          Sister                 04/04/1989

                      Jahmal Newsome         Brother                02/12/1995

       10.     As a result of the wrongful death of Johnson, the statutory beneficiaries have

suffered harms and losses, past and future, including those allowed by statute under Virginia

Code §8.01-52 including potentially the following: funeral expenses, medical costs, loss of

income and services to the Decedent’s statutory beneficiaries, as well as sorrow and anguish

from the loss of the Decedent, among other losses. As a direct and proximate result of the
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wrongful death, Plaintiff’s Decedent’s statutory beneficiaries have all suffered tremendous

sorrow, mental anguish, as well as loss of society, solace, companionship, comfort, guidance,

kindly offices, and advice of the Decedent.

       WHEREFORE, Plaintiff prays for judgment against the Defendants, jointly and

severally, in the sum of SEVEN MILLION DOLLARS ($7,000,000.00), and his costs in this

matter as expended.

       PLAINTIFF HEREBY DEMANDS TRIAL BY JURY.


                                                    BENJAMIN NEWSOME,
                                                    Administrator of the Estate of
                                                    JOSHUA JOHNSON

                                                    _________/s/_______________
                                                    John M. Cooper, Esquire
                                                    William F. O’Mara, Jr., Esquire

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                                             Certification

        I hereby certify that on this 1st day of April, 2014, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:



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                                                       _____________/s/_____________
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                                                       William F. O’Mara, Jr., Esquire




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